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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      United States District Court
                                                                                                               u    r~'
                                                                       for the

                                                           Eastern District of Virginia                                   JL 2!
              In the Matter of the Search of                                                                   CL
         (Briefly describe the property to be searched
          or identify the person by name and address)                              CaseNo. 1:17sw 1:17ec"|40?'
Disclosure of Location-Based Services for AT&T Cellular
                                                                                                      TO
             Telephone Number 202-704-2704


                                             APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person ordescribe the
^1^§c5iftfes^f)e1oingfn^fo^                            AT&T associated with cellular telephone number 202-704-2704. This Court has
  authority to issue this warrant under 18 U.S.C. §§ 2703(c)(1)(A) and 2711(3)(a) and Fed. Rule of Crim. P. 41.
located in the             Unknown                District of                                      , there is now concealed (identify the
person or describe the property to be seized)'.
  Disclosure of location-based electronic communications data for AT&T cellular telephone number 202-704-2704.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check oneor more):
                 sTevidence ofacrime;
                 • contraband, fruits of crime, or other items illegally possessed;
                 • property designed for use, intended for use, or used in committing a crime;
                 • a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

             Code Section                                                           Offense Description
        21 U.S.C. §§ 841(a)(1), 846                     Conspiracy to distribute cocaine and heroin.



          The application is based on these facts:
        See attached Affidavit.



           iSf Continued on the attached sheet.
           af Delayed notice of 30 days (give exact ending date ifmore than 30 days:                                       ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                Applicant's signature

                                                                                      Jonathan F. Earle, ATF Special Agent
                                                                                                Printed name and title


Sworn to before me and signed in my presence.
                                                                                           ./S/.
                                                                             John F. Anderson
Date:            07/21/2017                                                  United States Magistrate Judge
                                                                                                   Judge's signature

City and state: Alexandria, Virginia                                              Hon. John F. Anderson, U.S. Magistrate Judge
                                                                                                Printed name and title
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                    IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA
                                                                                r                   i; .li

                                        Alexandria Division                              JUL 21 :

 IN THE MATTER OF THE APPLICATION OF                                                Cl

 THE UNITED STATES OF AMERICA FOR A
 SEARCH WARRANT AND ORDERS                                    UNDER SEAL
 PURSUANT TO 18 U.S.C. §§ 2703(c)(1)(A) AND
 3122(a)(1) FOR: (1) THE DISCLOSURE OF
 LOCATION BASED SERVICES; (2)                                 l:17-sw- 435
 DISCLOSURE OF STORED
 TELECOMMUNICATIONS RECORDS FOR
 TELEPHONE NUMBER 202-704-2704 ; AND (3)
 INSTALLATION OF A PEN REGISTER AND
 TRAP AND TRACE DEVICE


                                AFFIDAVIT IN SUPPORT OF
                        AN APPLICATION FOR A SEARCH WARRANT


        I, Jonathan F. Earle, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND


        1.     I have been a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives ("ATF'') since 2009. I have experience investigating narcotics and firearms

trafficking offenses.

       2.      This affidavit is submitted in support of an application for the disclosure of

location-based electronic communications data and an order for the installation of a pen register

and trap and trace device for a cellular telephone number (202) 704-2704 (as defined in the

Application and hereinafter referred to as the "SUBJECT TELEPHONE NUMBER"), pursuant

to Federal Rule of Criminal Procedure 41(d)(1) and Title 18, United States Code, Sections

2703(c) and 3122(a). The SUBJECT TELEPHONE NUMBER is serviced by AT&T and is used

by TYREE HENDERSON. As set forth in greater detail below, I believe there is probable cause

to support the determination that HENDERSON is a member of a conspiracy to distribute
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marijuana, prescription pills, and other controlled substances and that members of the conspiracy

have engaged in violent crimes to further their conspiracy to distribute controlled substances

within the Eastern District of Virginia and elsewhere. Further, I submit there is probable cause

to support the determination that HENDERSON uses the SUBJECT TELEPHONE NUMBER to

conduct narcotics trafficking.

        3.        This affidavit does not contain every fact known to me regarding this

investigation, but rather contains information necessary to demonstrate probable cause in support

of the above-referenced search warrant. In addition, I set forth the following facts showing that

there are sufficient grounds to believe that the disclosure of location-based services and the

installation of a pen register and trap and trace device on the SUBJECT TELEPHONE

NUMBER, will be relevant and material to an ongoing criminal investigation.

       4.         The facts and information contained in this affidavit are based on my personal

knowledge and information obtained from federal and state law enforcement officers. All

observations referenced in this affidavit that were not personally made by me were relayed to me

by the person(s) who made such observations or in reports that detailed the events described by

that person(s).

                                        PROBABLE CAUSE


       A;         Background on the Investigation


       5.         In June of 2017, a cooperating source ("CI-1") reported to the Alexandria Police

Department ("APD") Violent Crime Unit and ATF that HENDERSON and an individual ("Co-

Conspirator 1') were involved in the distribution of marijuana and other controlled substances in

Alexandria, Virginia, which is located in the Eastern District of Virginia. CI-1 identified

HENDERSON and Co-Conspirator 1 as members of 41 Zone, a local street gang based out of

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Fairfax County, Virginia. Further, in March 2017, HENDERSON was the victim of a shooting

incident in Alexandria, HENDERSON used the SUBJECT TELEPHONE NUMBER to speak to

law enforcement about this incident. Cl-1 reported to law enforcement that HENDERSON was

shot due to a "beef between HENDERSON and members of local street gang identified as

"Steven's Gang/Front Street." C-1 reported this "beef was over the distribution of controlled

substances.


       6.        CI-1 will be referred to in the masculine gender, regardless of CI-1's true gender.

He was arrested in 2014 for possession of a controlled substance and in 2015 and 2016 for

possession with intent to distribute a controlled substance, in Alexandria, VA. CI-1 is

cooperating with law enforcement in return for consideration for his pending charges. CI-Ts

information was unsolicited and has been corroborated through other witnesses. Therefore, CI-

1 's information has been deemed reliable.

       7.        In July 2017, another cooperating source ("CI-2") reported to ATF that

HENDERSON and "Co-Conspirator 1" are involved in a "beef with members of "Steven's

Gang/Front Street."

       8.        CI-2 will be referred to in the masculine gender, regardless of CI-2's true gender.

He was arrested in 2014 in Washington DC for unauthorized use of a vehicle and in 2017 he was

arrested for the straw purchase of firearms in the Eastern District of Virginia. CI-2 is cooperating

with law enforcement in return for consideration for his pending charges. CI-2's information has

been corroborated, and has therefore been deemed rehable.

       9.        Based on these reports and other information, ATF and APD have an ongoing

violent crime investigationinto HENDERSON, Co-Conspirator 1, and other gang members with

in Alexandria.

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           B.    . Review of HENDERSON Social Media

           10.    Between March 2017 to June 2017, law enforcement have observed videos on a

"Snap Chat" account xmder the usemame "NolackingTY." This account has been identified as

belonging to HENDERSON. Law enforcement have observed several videos of HENDERSON

in possession of items that appear to be firearms and controlled substances. The suspected

controlled substances are in large bags. Based on my training and experience, I know that this

quantity of controlled substances is usually not for personal consumption, but rather distribution

quantities.

        C.        National Integrated Ballistic Information Network nSTIBIN) Result for an April
                  11. 2017 Shooting in Alexandria


           11.    In June 2017, CI-1 reported to law enforcement that HENDERSON and Co-

Conspirator 1 were involved in a shooting in Alexandria on April 11, 2017. Then, on July 5,

2017, law enforcement received information fi-om the District of Columbia Department of

Forensic Sciences Firearms Examination Unit in reference to 9mm shell casings recovered

during a "Weapon Offense" at 4754 Kenmore Ave, Alexandria, on April 11,2017, and 9mm

shell casings recovered firom an Assault with a deadly weapon at 4700 South Capitol Street

(Shell Gas Station) in the Metropolitan Police Department's 7th District on May 20, 2017. The

Firearms Examination Unit stated the 9 mm shell casings recovered from the two shooting

incidents were microscopically examined and were identified as having been fired from same

firearm.


        12.       Moreover, law enforcement have reviewed surveillance video from the shooting

on May 20, 2017. In the video the suspected shooters have the same physical characteristics as

HENDERSON and Co-Conspirator 1. Additionally, the firearm observed in the surveillance


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video is the same shape and size and has unique characteristics of a firearm HENDERSONhas

displayed on social media.

       D.      Search Warrant Executed on Tvree Henderson's Vehicle

       13.     On July 7, 2017, APD officers observed HENDERSON driving a vehicle in the

area of Kenmore Avenue, Alexandria. A DMV query of the vehicle revealed it was registered to

an individual identified in the past to be HENDERSON'S girlfnend. APD officers observed

HENDERSON park the vehicle and walk away. HENDERSON and another male walked from

the vehicle past an off-duty APD officer. The off-duty APD officer reported HENDERSON and

other male had a strong odor ofmarijuana. While the vehicle was parked, APD officers smelled

a strong odor of marijuana from the vehicle and observed, in plain view, digital scales and

suspected marijuana in the vehicle. Based on my training and experience, I know that drug

distributors used digital scales to weigh controlled substances before they package the controlled

substances for distribution. In response to this discovery, an APD K-9 officer responded to the

vehicle and during an external sweep of the vehicle, the K-9 alerted to the presence of a

controlled substance. APD officers seized the vehicle and obtained a state search warrant.


During the execution of state search warrant, APD officers seized approximately thirty-seven

(37) grams of suspected marijuana from the vehicle. There was a large empty vacuum-sealed bag

in the vehicle. Based on my training and experience, I know that drug distributors use vacuum-

sealed bags to transport and distribute controlled substances. The suspected marijuana was field

tested by APD officers and tested positive.

       14.     On July 9, 2017, APD offices obtained arrest warrants for HENDERSON and the

other male for Possession with Intent to Distribute Marijuana. Then, on July 11,2017,

HENDERSON was arrested in Fairfax County for the outstanding warrant. After his arrest,

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HENDERSON provided the SUBJECT TELEPHONE NUMBER as his phone number to

investigators.

        E.       Use of Location-Based Services to Further the Livestieation

        15.      I believe that a court order authorizingthe installationof a pen register trap and

trace device, the disclosure of stored records (includinghistorical cell site information), and the

disclosure of location-based services will assist agents in determining the locations that

HENDERSON frequents and therefore assist agents in identifying locations where

HENDERSON meets to conduct his drug trafficking activity. I submit it may also assist

investigators in identifying HENDERSON'S co-conspirators as well as where HENDERSON or

his source of supply may store their drugs, drug-related paraphemalia, and proceeds earned from

their sale of drugs.

        16.      Cell-sites only disclose the location of an Antenna Tower. Like plugging a

conventional phone into a "wall-jack," the wireless telecommunications providers quickly and

accurately detect which one of their "wall-jack" cell-sites is accessed by a mobile phone; and,

armed with knowledge of that cell-site's physical tower location, agents can inferentially

approximate the SUBJECT TELEPHONE NUMBER'S location, at best to within several square

miles, at the beginning and end of each call. This approximated location can be used to

corroborate the observations of surveillance agents and to anticipate future movements and

locations by establishing the target's habit or pattern. For example, if a target's first and last

wireless calls of the day occur in the same cell site, then the geographic footprint of the area

covered by that cell-site should correspond to the general location where the target is residing,

working or sleeping. If there are several known addresses—as identified through subscriber
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records derived from the pen/trap or otherwise—^in that same cell-site's coverage area, then there

is a good possibility that the target is residing with or visiting one of those individuals.

        17.    While the information acquired by cell-site analysis (which is created and stored

in the ordinary course of business each and every time the mobile phone makes or receives a

call) can be coarse and non-specific, information obtained from the telecommunications

providers using their "Enhanced 911" tools (such as GPS fixes, triangulation, cell-site "pings,"

received signal strength indicator (RSSI), and timing offset analysis) can be much more precise.

More precise information allows investigators to get closer to the actual handset. Some of these

E-911 tools are not records that exist in the ordinary course of business and often are not created

unless the user of the phone dials "911." Thus, unless a provider has reason to believe a mobile

phone's user is in distress (typically by virtue of a 911 call), telecommunications providers will

require a court order to create, record, and disclose these electronic records to law enforcement.

I submit that there is probable cause to support a court order to require the creation ofthese

records and to compel the disclosure of these records. These records, however, are rarely so

precise as to establish the phone's presence in a particular house or apartment and cannot be

relied upon as a sole basis for attempting warrant service at any particular location,

        18.    Whether the ATF receives real-time cell-sites or requests the provider disclose

E-911 location information, no government "device" is involved. Rather, cell-site records are

passed contemporaneously with pen register and trap and trace data from the accessing cell site

to the local Mobile Telephone Switching, which forwards the information to the Provider's

central collection facility {i.e. their law enforcement relations/court order bureau offices). From

there, the provider authorizes the data stream for release to the ATF through its CALEA-

compliant network.

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        19.      Similarly, when the ATF requests E-911 tools in an attempt to locate the physical

handset, no government "device" is used. Rather, the provider will query the phone, which must

be on, to ascertain its location through a two-way data dialogue. That information is captured

and stored by the provider and passed on to the Investigative Agency orally or in writing (e.g.

email or fax).

        20.      Once I receive an order for the type of information requested herein, it is served

upon the SUBJECT TELEPHONE NUMBER'S Provider. Once received, it is catalogued and

assigned to an electronic surveillance representative, who, based on caseload, will "provision"

the SUBJECT TELEPHONE NUMBER for delivery in the appropriate "switches," thereby

instructing those switches to forward the information to the Provider's central collection point.

"Provisioning" can occur at any time and, except for exigent cases, is dictated solely by the

Provider. Thus, the ATF cannot control whether the Order will be electronically implemented

during day or night.

       21.       Revelation of the attempt to locate and investigate HENDERSON through use of

the SUBJECT TELEPHONE NUMBER would greatly compromise our ongoing investigation.

If alerted to the existence of the ongoing investigation, HENDERSON will likely change

patterns, change phones, resort to other communications media, destroy evidence, and flee.

                                          CONCLUSION


       22.       Based on the facts and circumstances stated above, I submit that there is probable

cause to believe that the above-described drug violations have occurred, are presently occurring,

and will continue to occur; and that HENDERSON has used, is using, and will continue to use

the SUBJECT TELEPHONE NUMBER in furtherance of his illicit drug trafficking, in violation

of Title 21, United States Code, Sections 841(a)(1) and 846. I further believe that the installation

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of a pen register trap and trace device, the disclosure of stored records (including historical cell

site information), and the disclosure of location-based services will permit law enforcement to

monitor HENDERSON'S involvement in illegal activities. Additionally, this order would

provide investigating agents the ability to identify other co-conspirators, sources of supply, and

effectively track the movements of the holder of the SUBJECT TELEPHOI^E NUMBER.

                                                    Respectfully submitted.



                                                    Jonaxhan F. Earle
                                                    Special Agent
                                                    Bureau of Alcohol, Tobacco, Firearms, and
                                                    Explosives



Subscribed and sworn to before me on JulyZi , 2017

                  Anderson
